Case 1:05-cv-01199-JDB-egb Document 159-5 Filed 02/07/18 Page1of61
PagelD 4754

0250). IWPogF- LL-BO47
ing enter setts

1 IN THE CRIMINAL COURT OF MADISON COUNTY, “FILE,

2 AT JACKSON

4 STATE OF TENNESSEE

mR.
Pury K
5 oS
6 vs. No. 96-589
7

8 JON DOUGLAS HALL

9
10 TRANSCRIPT OF EVIDENCE
11 FEBRUARY 4, 1997
12 VOLUME III
13
14
15
16
17
18
19
20
21 AMY MAYS
22 OFFICIAL COURT REPORTER
23 MADISON COUNTY COURTHOUSE
24 JACKSON, TENNESSEE 38301
25 (901) 423-6039
1 FILED
AUG 07 1997

Clerk ote py"
Aee'd By , /

Case 1:05-cv-01199-JDB-egb Document 159-5 Filed 02/07/18 Page 2 of 61

PagelD 4755
1 WITNESS INDEX
2 CHERYL ARBOGAST
3 Direct Examination Page 313
4 Cross-Examination Page 327

5 DR. LYNN DONNA ZAGER

6 Direct Examination Page 331
7 Cross-Examination Page 336
8 Redirect Examination Page 340
9 Recross-Examination Page 342

10 RANDY HELMS
11 Direct Examination Page 343
12 RENEWED MOTION FOR JUDGMENT OF ACQUITTAL Page 346

13 CHARGE OF THE COURT Page 351

312
Case 1:05-cv-01199-JDB-egb Document 159-5 Filed 02/07/18 Page 3 of 61

PagelD 4756
1 (The jury returned into open court,
2 and the following proceedings were
3 had to-wit:)
4 THE COURT: Ladies and gentlemen, the

5 Defendant doesn’t have to prove anything, as I’ve
6 already stated to you, but in this instance they choose
7 to put proof on. But they don’t have to prove
8 anything. It’s up to the State to prove the case
9 beyond a reasonable doubt, but they may put on proof,
10 which they elected to do.
11 Proceed.
12 CHERYL ARBOGAST was called and being first
13 duly sworn, was examined and testified as follows:

14 DIRECT EXAMINATION

15 BY MR. MAYO:

16 Q Would you state your name for the Court,

17 please, ma’am?

18 A Cheryl Arbogast.

19 Q Ms. Arbogast, how are you related to Jon

20 Hall?

21 A My brother’s sister.

22 Q How old are you, Ms. Arbogast? If you don’t

23 mind me asking.
24 A No, I’m 37.

25 Q Ms. Arbogast, where do you live?

313
Case 1:05-cv-01199-JDB-egb Document 159-5 Filed 02/07/18 Page4of61

24

25

PagelD 4757
A Cincinnati.
Q And what do you do for a living?
A I’m a registered nurse.
Q Ms. Arbogast, you know why you’re here. You

know what’s occurred; 1s that occurred? What occurred
on July 29th, 1994?

A I believe I do.

Q Ms. Arbogast, I want to ask you a few
questions about Mr. Hall and about your knowledge of
his life at that particular time.

MR. WOODALL: Your Honor, may we approach the
bench?

THE COURT: Yes, sir.

(There was a conference at the

bench, out of the hearing of

the jury, as follows:)

MR. WOODALL: Your Honor, what I anticipate
she’s getting ready to testify might be proper if we
get to the mitigation stage, but unless she was in town
and was with him prior to this occurring, or with him
while it occurred, this is not admissible in evidence
at this time.

Now, in order to prevent error, I would
suggest that Your Honor excuse the jury and hear her

testimony before it’s allowed to go to the jury, but I

314
Case 1:05-cv-01199-JDB-egb Document 159-5 Filed 02/07/18 Page5of61
PagelD 4758

1 just don’t -- She may say he was upset and all this
2 kind of stuff and --
3 THE COURT: Are you introducing her as a

4 character witness?

5 MR. MAYO: No, sir.
6 THE COURT: Well what kind of witness?
7 MR. MAYO: Your Honor, I didn’t get to my

8 questions.
9 THE COURT: Well I’m asking now.
10 MR. MAYO: It’s her brother here, and she
11 knew his state of mind and --
12 THE COURT: How could she know state of mind
13 if she wasn’t here?
14 MR. MAYO: Your Honor, she had talked to a
15 lot of folks, had talked to him, talked to his deceased
16 brother, and she is a nurse herself, so she would have

17 some --

18 THE COURT: I’m going to let the jury go.

19 (End of conference at the bench.)

20 (The jury was excused from open

21 court, and the following proceedings

22 were had to-wit:)

23 THE COURT: I’m going to let you put this in

24 the record, but now, I want you to confine yourself to

25 something that’s not hearsay. I don’t want you to be

315
Case 1:05-cv-01199-JDB-egb Document 159-5 Filed 02/07/18 Page 6 of 61

PagelD 4759

asking, did she say and did he say. Those are clearly
hearsay questions. So I want you to confine yourself
now without hearsay.

MR. MAYO: Yes, sir.

THE COURT: And, young lady, I don’t want you
repeating conversations that somebody else had with
you, other than perhaps the Defendant. We’1ll cross
that bridge. But anybody else’s conversation is not
admissible.

MR. WOODALL: Your Honor, I would suggest to
the Court that even any conversation that she may have
had with the Defendant would not be admissible since
his credibility is not in issue.

THE COURT: I’m going to listen to it,
General. I’m telling her at the outset I don’t want
the hearsay.

Go ahead.
Q Ms. Arbogast, I’m going to ask you a question
directly about July 29th of 1994, the night that this
occurred. On that particular night were you attempting
to do anything for Jon Hall?
A Absolutely. I was --

THE COURT: Where were you at that night?

THE WITNESS: At my house.

THE COURT: Where is your house?

316
Case 1:05-cv-01199-JDB-egb Document 159-5 Filed 02/07/18 Page 7 of 61

24

25

PagelD 4760

THE WITNESS: Cincinnati.

THE COURT: You were in Cincinnati and you
were not in Tennessee; is that right?

THE WITNESS: That’s correct.

THE COURT: All right, go ahead.
A Can you please restate the question?
Q On July 29th of 1994, were you trying to do
anything or get anything done for Jon Hall?
A I was trying to find a way to get him some
psychiatric counseling on a very urgent basis. He was
crying and distraught.

THE COURT: Well did you talk to him on the
phone that night?

THE WITNESS: It was that night that I was on
the phone talking with my brother.

THE COURT: With Mr. Hall.

THE WITNESS: With Jeff.

MR. MAYO: Jeff, the deceased brother, Your
Honor.

THE COURT: Oh, the deceased brother.

MR. MAYO: Yes, sir.

THE COURT: Well that’s not admissible.

MR. MAYO: Yes, sir. I’m strictly asking her
what she was doing herself, and I’m only trying to

introduce it as far as state of mind. That’s the only

317
Case 1:05-cv-01199-JDB-egb Document 159-5 Filed 02/07/18 Page 8 of 61
PagelD 4761

1 purpose for it.

2 THE COURT: State of her mind, but we’re not
3 interested in her state of mind. It’s his state of

4 mind.

5 MR. MAYO: Yes, sir, as to -- That’s why

6 we're trying to introduce it, Your Honor.

7 THE COURT: Go right ahead.
8 Q Continue, please, Ms. Arbogast.
9 A Jon had been very distraught, upset over

10 Jeff's impending death, about his relationship with

11 Billie and wanting to work out problems in their

12 marriage. He was flighting from one idea to another.
13 He was upset because Mom was so far away and he had no
14 family support, and he was concerned what would happen
15 with his family. If he did end up getting a divorce,
16 he was going to be devastated over missing his

17 children, and he was going from one topic to another
18 and crying, sobbing over each of those things, from one
19 topic back to the next back to another and just --

20 THE COURT: Are you talking about your dead

21 brother or are you talking about Mr. Hall here?

22 THE WITNESS: Jon.

23 THE COURT: Jon, here.

24 All right, go ahead.

25 Q Ms. Arbogast, based upon his condition at

318
Case 1:05-cv-01199-JDB-egb Document 159-5 Filed 02/07/18 Page 9of61

PagelD 4762

that time, were you attempting in that conversation
with your deceased brother to work out some kind of
plan to get him committed?

A Yes. I had discussed with Jeff that he had
symptoms of acute depression, and that it was so
severe, from his description, he needed to have
counseling on an urgent basis, if not hospitalization
and professional treatment. He says, "I can’t make him
go." I said, "I --"

THE COURT: Well now obviously -- I’ve told
you before, you’re not to -- Let me ask you this. When
you say, "I can’t make him not to go," you told me a
moment ago you were talking to Jon Hall. Is that what
Jon Hall, "I cannot make him go"?

THE WITNESS: No, sir.

MR. WOODALL: The deceased brother said that,
Your Honor.

THE COURT: Well that’s not admissible.

Go ahead.

MR. MAYO: Yes, Sir. Your Honor, this is an
offer of proof, if Your Honor will. The deceased
brother obviously is not here. He died in July of
1995, prior to Mr. Ford and I being on the case, and
his statement was not taken, no deposition. So we have

no proof as to what the brother would have said.

319
Case 1:05-cv-01199-JDB-egb Document 159-5 Filed 02/07/18 Page 10of61

PagelD 4763

THE COURT: Tell her not to say what the
brother said. That’s what I’m trying to get you to.
At least that’s not admissible.
Q Ms. Arbogast, as you discussed this matter
with your brother, Jeff Hall, the deceased brother,
based upon that conversation you had, did you do
anything else?
A I made a series of phone calls trying to find
Jon. I had called his home the night of July 29th
repeatedly. He doesn’t have an answering machine. I
was not able to leave any messages. I had no way to
get in touch with him. I tried to call the Lambert
home, and I did call them the next morning. At first I
got a busy signal and then the answering machine kicked
on shortly thereafter, and I didn’t know what to say.
I knew that he was so depressed and that they had been
having a lot of problems in their marriage. I didn’t
know what kind of message to leave, and so I just hung
up on their answering machine. I tried to figure out
an 800 number for crisis intervention that could be
called in Tennessee, and I was hoping to find a way to
get Jeff to coerce him to go to a hospital to have
perhaps a 72-hour hold placed on him so that he could
be evaluated by medical professionals.

Q Jeff is the who you were talking to during

320
Case 1:05-cv-01199-JDB-egb Document 159-5 Filed 02/07/18 Page11of61

PagelD 4764

this entire time. Jeff is the one also who had had a
lot of contact during that time period with Mr. Hall,
Mr. Jon Hall.

THE COURT: Don’t lead her. Don’t lead her.
A He was --

THE COURT: Just ask her. Don’t lead her.

MR. MAYO: I’m trying to avoid hearsay. I
can ask her that question.

THE COURT: Well you said this. "You had a
lot of conversations with him." If that isn’t leading,
I don’t know what leading is.

MR. MAYO: Well, Your Honor, I would ask you
to allow me to make an offer of proof then at this
moment as to what Jeff Hall would have said since he is
no longer with us and no statement was taken from him.
I'd like to make an offer of proof as to that, Your
Honor.

THE COURT: Are you saying Jeff Hall’s
statement is admissible?

MR. MAYO: Through her?

THE COURT: Yes.

MR. MAYO: No, sir.

THE COURT: Well how can you -- How otherwise
can you get it in?

MR. MAYO: I’m not stating that we can get it

321
Case 1:05-cv-01199-JDB-egb Document 159-5 Filed 02/07/18 Page 12 of 61
PagelD 4765

1 in, Your Honor.

2 THE COURT: Well then why ask her about it

3 then if you can’t get it in and you admit it’s not

4 admissible?

5 MR. MAYO: Because I’d like to make an offer
6 of proof on it, Your Honor. The jury is not here.

7 THE COURT: Well if you admit it’s not

8 admissible, why make --

9 MR. MAYO: Your Honor, it would be admissible
10 --
11 THE COURT: Wait a minute. Wait a minute.

12 Why waste our time with something that’s not
13 admissible?
14 MR. MAYO: Because it would be admissible if

15 there was a deposition that had been taken at the time.

16 THE COURT: But it wasn’t taken.
17 MR. MAYO: That's correct, Your Honor.
18 THE COURT: So you concede it’s not

19 admissible.

20 MR. MAYO: It’s not admissible now. That’s
21 correct.

22 THE COURT: Well is there any way to make it
23 admissible legally?

24 MR. MAYO: Your Honor, this is an offer of

25 proof.

322
Case 1:05-cv-01199-JDB-egb Document 159-5 Filed 02/07/18 Page13 of 61

24

25

PagelD 4766

THE COURT: I asked you a question. I know
it’s an offer of proof, but it’s a waste of time when
it’s something that is not concerned in the case.

MR. MAYO: Your Honor, this is a death
penalty case. We have a right to make an offer of
proof as to something that is extremely material. Mr.
Jeff Hall is the first person who saw Jon Hall after
this occurred. He went straight down to Texas and saw
Mr. Hall. He was the only person that talked to Mr.
Hall the day that this occurred, three or four days
previous to this occurring. His testimony would have
been extremely relevant at this hearing. He is not
with us, and someone did not take his statement. We
think it’s very important to make an offer of proof as
to what Jeff Hall would have said at this trial on
behalf of Mr. Jon Hall.

THE COURT: Go ahead. You concede it’s not
admissible, so I don’t know why you want to make an
offer of proof of something that’s not admissible, but
I’m going to let you do it. Go ahead.

MR. MAYO: Thank you, Your Honor.

Q Ms. Arbogast, if I can get back to where we
were, if I can remember.
A I had asked Jeff to please just take him to

the hospital, and he said, "I don’t think I can. I

323
Case 1:05-cv-01199-JDB-egb Document 159-5 Filed 02/07/18 Page14of61

24

25

PagelD 4767

can’t make him go." And I said that people who are in
this situation can’t realize for their own self that
they need that kind of help. He was so distraught. He
didn’t have any hope. He didn’t know where to turn.

Q Are these things that Jeff Hall told you?

A He had no support.

MR. WOODALL: Yes or no? These are things
that Jeff told you?

Q On the record just please say yes or no.

MR. MAYO: Your Honor, Mr. Woodall needs to
make an objection if he wants to talk to the witness at
this point.

THE COURT: Well, Mr. Woodall is trying to
help. The jury is not here. Go ahead. Go ahead, Mr.
Mayo. Put in what you want to. I’m going to allow it
all in.

MR. MAYO: Yes, sir.

Q Ms. Arbogast, would you continue?

THE COURT: Let me ask you this, ma’am.
Prior to this event, had you ever at any time tried to
have the Defendant committed or anything of that sort?

THE WITNESS: It was not until after I --

THE COURT: I’m not asking --

THE WITNESS: -- knew about this.

THE COURT: Listen to my question. Prior to

324
Case 1:05-cv-01199-JDB-egb Document 159-5 Filed 02/07/18 Page 15of61
PagelD 4768

1 this event, had you ever attempted to have him

2 committed?

3 THE WITNESS: No, sir.
4 THE COURT: All right, go ahead.
5 Q I don’t remember where you were. If you

6 would just continue.

7 A I’m not sure I do, sir.

8 THE COURT: She was telling you about what

9 his brother said at some time a year or two after --
10 not a year or two after, but this man who’s dead whose
11 statement cannot be admitted, on my ruling, she’s

12 telling you what he said to her. So that’s where she

13 was.

14 MR. MAYO: Thank you, sir.

15 THE COURT: You’re welcome.

16 A I suggested trickery. I suggested Jeff fake

17 a stomach illness or some reason that he needed to be
18 taken to the emergency room so that Jon could drive him
19 there and then have the doctor put him on a 72-hour

20 hold for emergency psychiatric counseling.

21 Q Did you also understand after this occurred
22 that Jon went to see Jeff --

23 THE COURT: Now, Mr. -- ask her what does she
24 know about what he did, not, "Do you understand ...".

25 This is clearly leading and suggestive. Rephrase your

325
Case 1:05-cv-01199-JDB-egb Document 159-5 Filed 02/07/18 Page 16 of 61

24

25

PagelD 4769
question.
Q Do you know where Jon went on July 29th?
A Back to Jeff's house.
Q Where was that, Ms. Arbogast?
A Out in Texas. He had been visiting with Jeff

for about I think eight days, and it occurred maybe a
week, two weeks maybe, before Billie’s death on the
29th, and when he was visiting with Jeff, it was quite
apparent he was suicidal and that he just did not know
how to make everything that was wrong in his life
right, and the stress of Jeff's health failing at that

point was only that much more difficult for us to all

bear, and before Jon started a new job, he wanted to

have one last opportunity to take that time that he had
free to see Jeff, because every time we saw him we
thought it would be our last.
Q Ms. Arbogast, you just stated that Jon went
to see Jeff. Was Jeff alive at that time in Texas on
July 29th, July 30th of 1994?
A Yes. He was supposed to have gone --

THE COURT: Just answer yes or no, please,
ma'am. Answer his question and then stop.

THE WITNESS: I’m sorry.

THE COURT: Go ahead.

Q Ms. Arbogast, when did he die, Jeff Hall?

326
Case 1:05-cv-01199-JDB-egb Document 159-5 Filed 02/07/18 Page17 of 61

PagelD 4770
1 A July 4th, 1995.
2 MR. MAYO: That’s all, Your Honor.
3 THE COURT: Mr. Mayo, the Court is going to

4 exclude any conversations with Jeff and anything she

5 doesn’t know.

6 MR. MAYO: Yes, sir, absolutely, Your Honor.
7 THE COURT: It’s going to be excluded.
8 MR. MAYO: I just offered it as an offer of

9 proof, and that’s all.
10 THE COURT: It’s in.
11 General, do you want to ask her anything?
12 The Court is excluding the matter.
13 MR. EARLS: Just a couple of questions, Your
14 Honor.

15 CROSS - EXAMINATION

16 BY MR. EARLS:

17 Q Did you ever talk to Jon Hall yourself?

18 A You mean in the days prior to Billie’s death?
19 Q Yes.

20 A No, sir.

21 Q Did you ever observe his person?

22 A No.

23 Q Everything that you’re testifying to is based

24 upon what someone else told you; is that right?

25 A That’s right.

327
Case 1:05-cv-01199-JDB-egb Document 159-5 Filed 02/07/18 Page18of61

24

25

PagelD 4771

MR. EARLS: That’s it, Your Honor.

THE COURT: Let me ask you one more question.
How long was it prior, before this event, that you had
talked to your brother, Jon?

THE WITNESS: It had been several months.

THE COURT: Several months. All right. Then
what you’re speaking about is something that you
discussed with your brother who is now deceased, and
this discussion was several months since you had seen
him; is that right?

THE WITNESS: Up until then. We lived in
different states, so we saw each other very little. We
would speak on the phone every few months.

THE COURT: And it had been several months
since you had spoke to him, spoke to Jon Hall before
you talked to this brother who is now deceased.

THE WITNESS: That's correct.

MR. WOODALL: Your Honor, I understand the
offer of proof. That having been made and excepted by
the Court, it’s now the State’s position that none of
this is admissible into evidence on their proof in
chief, none of it.

MR. MAYO: No argument, Your Honor, just an
offer of proof.

THE DEFENDANT: Just argument ineffective

328
Case 1:05-cv-01199-JDB-egb Document 159-5 Filed 02/07/18 Page19 of 61

24

25

PagelD 4772

assistance of counsel.

THE COURT: Are you ready to excuse her?

MR. WOODALL: Your Honor, Jon Hall keeps
running his mouth over there about his lawyers and
about these girls. I don’t think Your Honor is hearing
him.

THE COURT: Mr. Hall, if you don’t keep your
mouth shut, I’m either going to put a gag on you --
I’ll give you a choice. I’m going to put you back in
here where you can’t hear. Now you’ve got a choice.
You understand? I don’t want you to open your mouth or
Say anything to anybody except the lawyers. You
understand that?

THE DEFENDANT: I just want to make it on the
record that my counsel -- that they could have
preserved it before he died, and that’s why I’ve been
claiming ineffective assistance of counsel.

(WITNESS EXCUSED.)

MR. MAYO: Your Honor, that’s the only
witness we have that is available at this present time.
We'd ask for a brief recess.

THE COURT: Well now if you’ve got any other
witnesses, and you, too, Mr. Woodall, with the
exception of that doctor, I expect you to have them

here ready.

329
Case 1:05-cv-01199-JDB-egb Document 159-5 Filed 02/07/18 Page 20 of 61
PagelD 4773

1 MR. MAYO: That’s all we have is the doctor,

2 an expert, that’s on her way from Memphis.

3 THE COURT: Well the rules say if you don’t

4 have them here when you’re supposed to you can proceed
5 on.

6 MR. MAYO: Your Honor, we're not asking for a
7 continuance --

8 MR. WOODALL: Your Honor, in all fairness to

9 them, we've sped this thing right along, and I can

10 appreciate their problem not having this doctor here

11 right on time.

12 THE COURT: When do you expect to have him?
13 MR. MAYO: 2:30 to 3:00, Your Honor.
14 THE COURT: Well, in the future, Mr. Woodall,

15 starting in the morning, and all you people, I want

16 your witnesses here and waiting, starting in the

17 morning. I didn’t make that clear before, but this

18 jury is being inconvenienced with regard to having to
19 wait around here, but I’m saying in the morning now,

20 I’m expecting you people to have your witnesses,

21 whatever you want, here present at 8:30 in the morning.
22 MR. MAYO: Yes, sir.

23 THE COURT: All right, we’re in recess ‘til
24 your doctor comes.

25 (There was a short recess; and with

330
Case 1:05-cv-01199-JDB-egb Document 159-5 Filed 02/07/18 Page 21 of 61

PagelD 4774
1 the jury in open court, the
2 following proceedings were had
3 to-wit:)
4 DR. LYNN DONNA ZAGER was called and being

5 first duly sworn, was examined and testified as
6 follows:

7 DIRECT EXAMINATION

8 BY MR. MAYO:

9 Q Would you state your name for the Court,

10 please?

11 A My name is Lynn Donna Zager.

12 Q And, Dr. Zager, what is your occupation?

13 A I’m a clinical psychologist.

14 Q How did you become a clinical psychologist?
15 A I received my Bachelor’s Degree from the

16 University of Tennessee in 1976. I received a Masters

17 of Science and a Doctorate from Florida State

18 University in 1978 and 1981. In addition to that I

19 completed an internship under the supervision of other
20 psychologists.

al Q Have you done any lectures or written any

22 treatises or anything of that nature?

23 A Yes, I have.
24 Q Would you please tell us what they are?
25 A The majority of my research and publications

331
Case 1:05-cv-01199-JDB-egb Document 159-5 Filed 02/07/18 Page 22 of 61

24

25

PagelD 4775

have to do with individuals who have issues with the
criminal justice system. I’ve written a number of
articles, especially about a personality inventory, the
MMPI.

MR. MAYO: Your Honor, I would move to
qualify her as an expert at this point.

THE COURT: Any objection, General?

MR. EARLS: Your Honor, could I ask just one
question?

THE COURT: If you wish.

MR. EARLS: Do you have any training in the
field of medicine?

THE WITNESS: No, I do not.

MR. MAYO: Your Honor, I move her as an
expert in the field of psychology, Your Honor.

THE COURT: All right, sir.
Q Dr. Zager, did you have an opportunity to

interview a Jon Hall?

A yes, I did, on a number of occasions.

Q This is Jon Hall here; is that correct?

A That’s correct, sitting at the table.

Q Dr. Zager, when did you interview Mr. Hall?
A I first saw Mr. Hall in November of 1995.

That was November 18th. It was approximately a year

later I saw him again on November 1st of 1996, and I

332
Case 1:05-cv-01199-JDB-egb Document 159-5 Filed 02/07/18 Page 23 of 61
PagelD 4776

1 most recently interviewed him on January 3rd of this

2 year.

3 Q And have you had the opportunity to review

4 any records regarding Jon Hall?

5 A Yes. Not only did I have my own interview

6 and psychological testing that I completed, in addition

7 I reviewed records from the Middle Tennessee Mental

8 Health Institute, forensic services division, where Mr.

9 Hall was for approximately a month. I also had an

10 opportunity to review records from the Riverbend

11 Institution, mental health records. I had the

12 opportunity to review reports of interviews that were
13 conducted with people who knew Mr. Hall.

14 Q Dr. Zager, based upon your interviews with
15 Mr. Hall, based upon your reviewing those records that
16 you just spoke of and based upon your own record that
17 you made and that you wrote up, were you able to
18 formulate any opinion as to whether Mr. Hall suffered
19 from any emotional or psychological condition?
20 A Yes. My diagnosis or my -- what I thought
21 that Mr. Hall suffers from, basically he suffers from
22 depression, and he meets the criteria for a diagnosis
23 of depression. This was prior to the incident and
24 after the incident. It’s not as acute right now as it

25 was before. Evidence of that included things like that

333
Case 1:05-cv-01199-JDB-egb Document 159-5 Filed 02/07/18 Page 24 of 61

a4

25

PagelD 4777

he had a depressed mood, he had crying spells, he had
thoughts of death and suicide, he had difficulty
concentrating, disturbed sleep pattern and was noted
psycho-social retardation which means that things that
he normally did at a much quicker pace he was doing at
a much slower pace.

Q Were you able --

A In addition, he had an alcohol dependence
problem. There is a strong family history of alcohol
problems in his family, both his father and paternal
grandfather had very significant alcohol problems, and
that was true in Mr. Hall’s case also. In addition I
found some personality characteristics which I think
are important in terms of understanding his
functioning. These include paranoia and dependency.

Q Dr. Zager, based upon what you learned, were
you able to formulate any opinion as to what Jon Hall’s
state of mind was on July 29th, 1994?

A It’s my opinion that at the time of the
incident, that Mr. Hall was suffering from depression.
In addition, he was intoxicated on alcohol. When that
is put together with the depression and the personality
characteristics, when that occurs, and some of the
stressors, the psycho-social stressors, that he was

under at that time, I feel like his abilities were

334
Case 1:05-cv-01199-JDB-egb Document 159-5 Filed 02/07/18 Page 25 of 61

PagelD 4778
1 compromised.
2 Q What were the stressors that you’re speaking
3 of?
4 A There were a number of stressors. He had a

5 daughter who was born prematurely and suffers from
6 cerebral palsy. For approximately two years he was her
7 primary caretaker, including doing medical-type things
8 she needed, breathing treatments and other things like
9 that. She had other health-related problems, had been
10 hospitalized, and I believe that was a significant
11 stressor for her that went on over time. He had lost
12 his job. His wife had lost her job. They had
13 financial stressors that were operating. His brother,
14 one of his brothers that he was very close to, Jeff,
15 had been diagnosed with AIDS and he was deteriorating
16 around that time. So those stressors were operating.
17 Q Do you have any opinion as to whether he was
18 able to formulate a plan and carry that plan out on
19 July 29th in regards to a murder?
20 A It’s my impression, based on everything that
21 I know about the case, that Mr. Hall was acting in an
22 impulsive manner versus a well-thought out plan.
23 MR. MAYO: Thank you, Dr. dGager.
24 - - oe ee

25

335
Case 1:05-cv-01199-JDB-egb Document 159-5 Filed 02/07/18 Page 26 of 61

a4

25

PagelD 4779

CROSS - EXAMINATION

BY MR. EBARLS:

Q Dr. Zager, the first time you interviewed Mr.
Hall was November 18th of 1995; is that correct?

A Yes, it is.

Q And the date of the homicide is July the 29th
of 1994; is that correct?

A That’s correct.

Q So your interview was well over a year after

the incident; is that correct?

A That’s correct.

Q Doctor, what is the psychiatric definition of
malingering?

A Malingering, according to the Diagnostic and

Statistical Manual of Mental Illness, has to do with a

person feigning symptoms, a person attempting to
present themselves in a light where they have an
illness when they do not have that illness.

Q Okay. And, Doctor, did you prepare a report
that you mailed or presented to Mr. Mike Mosier on

November 19th, 1995?

A Yes, I did.
Q And in that report did you make the following
statement :

"T am somewhat concerned at this time that

336
Case 1:05-cv-01199-JDB-egb Document 159-5 Filed 02/07/18 Page 27 of 61

24

25

PagelD 4780

the only information to suggest that he was intoxicated
is Mr. Hall’s self report."

A I made that statement, and then I was given
the opportunity to review notes and information from
interviews of other people who were there at that time,
and that helped support what he had to tell me.

Q What other people did you interview, or what

notes did you review, of people who were there?

A People who were with him around the time.

Q People who were at the scene during the
homicide?

A No, that’s not correct. People who were with

him shortly before the incident.
Q And did any of those people -- were they able

to indicate what his manner or actions were?

A To some regard, yes, they were.

Q When you say "To some regard," what do you
mean?

A What I mean is there were people who were

with him who will say that he was drinking beer, that
there was beer missing from the refrigerator, that he

was at a pub and he had beer there.

Q Is that all they said?
A That’s what I recall.
Q And that’s what they said. And based upon

337
Case 1:05-cv-01199-JDB-egb Document 159-5 Filed 02/07/18 Page 28 of 61

24

25

PagelD 4781

that you believed he was intoxicated.

A It’s more than that. Given the family
history of alcohol dependence, it’s not unusual that he
had that problem.

Q But that doesn’t necessarily mean he had that

problem, does it?

A No, but I think he did.
Q Okay. Based upon the fact that some people
say --

THE COURT: Is that your opinion?

THE WITNESS: That is my opinion, yes.
Q Based on the fact that people said he was
drinking beer.
A It's more than that. I base that on the
information from the family about he started using
alcohol at approximately age 15, as I recall, times
when the family saw him intoxicated. There was a lot
of information to suggest that it’s not just something
he was making up. He had an alicohol problem.

Q Doctor, what is the Diagnostic Statistical

Manual for Mental Disorders?

A That’s a manual that mental health
professionals use. It’s put out by the American
Psychiatric Association, and it’s a way that

professionals can use specific criteria to go about

338
Case 1:05-cv-01199-JDB-egb Document 159-5 Filed 02/07/18 Page 29 of 61

24

25

PagelD 4782

deciding if someone has a disorder or not.

Q And is that a manual that is widely
recognized and accepted in the field of psychology?

A Yes, it is.

Q Doctor, what is the diagnostic criteria for
determining alcohol intoxication?

A What you would have is alcohol ingestion, and
you would have to be drinking in order to have alcohol
intoxication. In addition, their needs to be a
physiological sign like slurred speech, unsteady gait,
things like that, and in addition, there’s usually a
change in behavior where the person behaves in a way
that's different from when they’re not intoxicated.

Q Isn’t it also true that you have to

eliminate medical conditions and other mental

disorders?

A For intoxication?

Q Yes, ma’am.

Q Sure.

Q And you’re not trained in the field of

medicine, are you?

A No, I’m not.

Q Okay. Now, in the reports and the statements
that you reviewed, what person talked about him having

slurred speech?

339
Case 1:05-cv-01199-JDB-egb Document 159-5 Filed 02/07/18 Page 30 of 61

PagelD 4783

A I don’t recall that.

Q What person talked about his incoordination?
A I don’t recall that.

Q What person talked about his unsteady gait?
A I don’t recall that.

Q What person talked about him having a
nystagmus?

A I don’t recall that.

Q What person talked about an impaired

attention or memory?

A I don’t recall that, except for him.

Q He did.

A Uh-huh.

Q And what person talked about him being ina

stupor or coma?

A That was not said.

Q And are those the recognized determining
factors for intoxication as stated in the Diagnostic
and Statistical Manual?

A Yes, they are.

MR. EARLS: That’s all.

REDIRECT EXAMINATION

BY MR. MAYO:

Q Dr. Zager, Mr. Earls was asking you about the

340
Case 1:05-cv-01199-JDB-egb Document 159-5 Filed 02/07/18 Page 31 of 61

24

25

PagelD 4784

various notes and things that you reviewed to determine
whether Mr. Hall was an alcoholic. You mentioned that
you had read notes or interviews of people that had
been with Mr. Hall prior to this; is that correct?

A That is correct.

Q And you mentioned that you had read medical

records of other facilities also.

A That’s correct.

Q You mentioned Middle Tennessee Health
Institute.

A Mental Health Institute.

Q Would you tell us just a little bit about

what that is?

A Middle Tennessee Mental Health Institute is
one of five regional mental health institutes in the
state. It normally serves people in the Davidson
County area. They have a unit where people who face
very serious charges are oftentimes sent for
evaluation.

Q And is that something -- Is that a private

institute or is that a state-run institute?

A That’s a state-run institute.
Q Is it run by the Department of Corrections or
A It's run by the Department of Mental Health

341
Case 1:05-cv-01199-JDB-egb Document 159-5 Filed 02/07/18 Page 32 of 61

24

25

PagelD 4785

and Mental Retardation.

Q And in those records from Middle Tennessee
Mental Health Institute, did you find anything that
mentioned Mr. Hall’s alcohol problem?

A Yes. They agreed with my diagnosis.

Actually they made it before, but they diagnosed him as

suffering from alcohol dependence.

Q Thank you.
A Which is different from alcohol intoxication.
Q And that’s what you’re speaking of, is

alcohol dependence; is that correct?

A Yes.
Q You didn’t actually make a determination that
he was --

MR. MAYO: I’11 withdraw that question.

RECROSS - EXAMINATION

BY MR. EARLS:

Q Did you actually make a determination that he
was intoxicated at the time?

A I inferred that based on the information I
had available to me.

Q And that’s from Mr. Hall.

A That’s from Mr. Hall, and in addition, from

the other information I had available to me. It was an

342
Case 1:05-cv-01199-JDB-egb Document 159-5 Filed 02/07/18 Page 33 of 61

PagelD 4786
1 inference I made.
2 Q An inference.
3 A Uh-huh.
4 (WITNESS EXCUSED.)
5 RANDY HELMS was called and being first duly
6 sworn, was examined and testified as follows:

7 DIRECT EXAMINATION

8 BY MR. MAYO:

9 Q Would you state your full name for the Court,

10 please?

11 A Randy Helms.

12 Q Mr. Helms, where do you live?

13 A Lexington, Tennessee.

14 Q How long have you lived in Lexington?

15 A Forty-nine years.

16 Q Mr. Helms, what do you do in Lexington? What
17 is your occupation?

18 A I own Helms Motor Company.

19 Q Mr. Helms, do you know Jon Hall?

20 A Yes, sir.

21 Q Can you point Jon Hall out?

22 A (Pointing)

23 Q Mr. Helms, how do you know Mr. Hall?

24 A He worked for me at one time.

25 Q Mr. Helms, did you personally observe Mr.

343
Case 1:05-cv-01199-JDB-egb Document 159-5 Filed 02/07/18 Page 34 of 61

Rr

24

25

PagelD 4787

Hall on occasions?

MR. WOODALL: Your Honor, side bar.

(There was a conference at the

bench, out of the hearing of the

jury, as follows:)

MR. WOODALL: Your Honor, I don’t -- unless
this is close in time to the event which has occurred
here, I don’t think this is admissible. I think it’s
just like his sister, and we would object to it.

THE COURT: I would suggest that you would
ask him when --

MR. MAYO: Oh, I am. I haven’t gotten there
yet.

THE COURT: All right. Well get there as
soon as you can.

MR. MAYO: Yes, sir.

(End of conference at the bench.)

THE COURT: Mr. Helms, when was it he worked
for you?

THE WITNESS: It was about in '93 through
probably the middle part of ‘94.

THE COURT: A year and a half or something
like that?

THE WITNESS: Year, year and a half.

THE COURT: All right, go ahead.

344
Case 1:05-cv-01199-JDB-egb Document 159-5 Filed 02/07/18 Page 35 of 61

24

25

PagelD 4788

Q Mr. Helms, the last time he worked for you

was sometime in June of ‘94; is that correct?

A That would have been about right.

Q And after that June of '94, did you see Mr.
Hall?

A Yes, sir, I saw him quite regularly.

Q Mr. Helms, when was the last time that you

saw him prior to July 29th? Which I believe was a
Friday.

A It would have been on Wednesday which I
assume was July the 27th.

Q Mr. Helms, could you tell us, please, sir,
what kind of condition Mr. Hall was in?

A He had been severely depressed, just down and
out, and didn’t have a real good outlook on life. The
reason that I saw him on that day, he had stopped by to
tell me that he had got a new job. I’m sure I’m right
about this. He was starting a new job, and I think it
was Columbus-McKinnon which is a chain factory there in
Lexington, and I think he just more or less stopped by
to let me know that he was fixing to go to work, and
hopefully, you know, that maybe he could get on with
his life.

Q What was it that made you think or state to

this Court that you felt he was depressed?

345
Case 1:05-cv-01199-JDB-egb Document 159-5 Filed 02/07/18 Page 36 of 61
PagelD 4789

1 A Well, just in talking to him about the

2 problems, the family problems he’d been having and just
3 the trouble that him and his wife were having and the

4 affect it was having on him and his children and all,

5 he was just having a hard time dealing with it. It was

6 just a depressive-type situation is all I can say.
7 MR. MAYO: Thank you, Mr. Helms.

8 MR. WOODALL: No questions.

9 (WITNESS EXCUSED. )

10 MR. MAYO: Defense rests, Your Honor.

11 (The jury was excused from open

12 court; the Motion for Judgment of

13 Acquittal was renewed and overruled;

14 and the following proceedings were

15 had to-wit:)

16 MR. WOODALL: Your Honor, I also think that

17 for the record that the Defendant needs to be put under
18 oath and asked if --

19 THE COURT: Mr. Hall, would you please stand?
20 Would you stand and raise your right hand?

21 THE DEFENDANT: Are you trying to coerce me
22 inside the bar -- the sanctuary of the bar? See, you
23 didn’t remove that flag of war.

24 THE COURT: Mr. Hall, I order you to raise

25 your right hand. You refuse?

346
Case 1:05-cv-01199-JDB-egb Document 159-5 Filed 02/07/18 Page 37 of 61

24

25

PagelD 4790

THE DEFENDANT: Your Honor, they’re trying to
take my life away. I have my constitutional rights.
What do I have to be sworn in for? You know who I am.

THE COURT: All right, just have a seat.

Mr. Ford, will you please address the Court
and tell me if this man has been -- has had a
negotiated plea discussed with him and --

MR. FORD: Yes, sir. We took that up, Your
Honor, on the record earlier, if the Court will recall.

THE COURT: Well what do you want?

MR. WOODALL: Your Honor, I think it needs to
be on the record it’s his decision not to testify in
his own behalf.

THE COURT: Well, Mr. Ford, have you told
this man the possibility about testifying and not
testifying?

MR. FORD: We fully discussed that, Your
Honor, and of course, we rested our case.

THE COURT: And then what did he tell you?
What was his -- Did he agree, or did he tell you that
he agreed not to take the stand?

MR. FORD: Well, Your Honor, that may be
privileged communication and a decision that we may
have arrived at discussing strategies of the case. I

don’t know if I’m allowed to --

347
Case 1:05-cv-01199-JDB-egb Document 159-5 Filed 02/07/18 Page 38 of 61
PagelD 4791

1 THE COURT: Well you go ahead. Listen to

2 this. Did you discuss it with him?

3 MR. FORD: Yes, sir.

4 THE COURT: And did you feel that he

5 understood what you were discussing?

6 MR. FORD: Absolutely.

7 THE COURT: And then after the discussion,

8 was he advised with regard to what the decision was
9 going to be as to whether he would testify or not?
10 MR. FORD: Yes, sir.
11 THE COURT: In your opinion was that made

12 freely?

13 MR. FORD: Yes, sir, after -- We’ve discussed
14 that issue numerous -- on numerous occasions.

15 THE COURT: Anything else, General?

16 MR. WOODALL: No, sir, that’s fine.

17 THE COURT: Call the jury back.

18 THE DEFENDANT : Your Honor, I’ll testify if

19 you take down the flag of war or sign that judicial

20 contract.

21 THE COURT: I don’t know what -- Do you mind
22 advising your client I’m not aware of a --

23 THE DEFENDANT: I sent it to you and you

24 signed it certified receipt.

25 THE COURT: Call the jury back. The case is

348
Case 1:05-cv-01199-JDB-egb Document 159-5 Filed 02/07/18 Page 39 of 61

PagelD 4792

already closed.

(The jury returned into open court,

and the following proceedings were

had to-wit:)

THE COURT: Members of the jury, now you have
heard all the evidence which is to be presented in this
case. The next step is for the lawyers to give their
closing arguments. Even though these arguments do not
constitute evidence, you should consider them very
carefully.

In the argument, counsel will call to your
attention the evidence which they consider material and
will ask you to draw certain inferences from that
evidence. Please keep in mind, however, that you're
not bound by their recollection of the evidence. It is
your recollection of the evidence and your recollection
alone which must guide you -- guide your deliberations.
If there are discrepancies between the lawyers’
recollection and your recollection, you’re bound by
your own recollection, nor are you limited in your own
consideration of the evidence to that which is
mentioned by the lawyers.

You must consider all of the evidence which
you consider material to the issues involved to the

extent that the inferences which counsel asks you to

349
Case 1:05-cv-01199-JDB-egb Document 159-5 Filed 02/07/18 Page 40 of 61

24

25

PagelD 4793

draw are supported by the evidence and appeal to your
reason and judgment. You may consider them in your
deliberations.

Lawyers may also call your attention to
certain principles of law in the arguments. Please
remember now that you are not bound by any principle of
law mentioned by the lawyers. You must apply the law
in which you are instructed by me and only that law to
the facts as you find them.

The State will make an opening argument, and
then the lawyer for the Defendant will argue and then
the State follows with a closing argument, and then
after the arguments I will instruct you as to the law
which you will apply to the facts as you find them.

Go to the jury room for a short recess, and
we’re going to discuss the charge.

(The jury was excused from open court,

and the following proceedings were had

to-wit:)

MR. WOODALL: Judge, you’re charging first
and second, and I’m just wondering and ask the defense
lawyers what they think. I don’t see anything in there
and the evidence has been presented that’s voluntary
manslaughter or criminally negligent homicide.

MR. FORD: We have no problem with what the

350
Case 1:05-cv-01199-JDB-egb Document 159-5 Filed 02/07/18 Page 41 of 61

PagelD 4794

Court’s charging, Your Honor, except for flight. We
don’t feel that that’s been shown. There’s no
witnesses that said he had fled.

THE COURT: Well there is witnesses that he
was located in Alabama.

MR. FORD: Texas, Your Honor, but there’s
been no proof that he ran to avoid arrest or anything
like that.

THE COURT: I’m going to charge it

MR. FORD: All right, sir. On the expert
witness charge, we'd also ask that Dr. Lynn 4ager, the
clinical psychologist, be added.

THE COURT: Okay. Ready for argument?

MR. WOODALL: Yes, sir.

MR. FORD: Yes, sir.

THE COURT: Call the jury.

(Arguments were heard on behalf

of the State and the Defendant,

without objection; out of the hearing

and presence of the jury, there was

an agreement between the State and the

Defendant to waive the fines that could

be imposed by the jury; and the Court

charged the jury as follows:)

THE COURT: The Defendant Jon Douglas Hall is

351
Case 1:05-cv-01199-JDB-egb Document 159-5 Filed 02/07/18 Page 42 of 61

24

25

PagelD 4795

charged in the indictment with the crime of first
degree murder. The Defendant pleads not guilty to this
offense.

The offense necessarily includes the lesser
offenses or grades of murder in the second degree,
voluntary manslaughter, reckless homicide and
criminally negligent homicide. The Defendant pleads
not guilty to each and every offense embraced in the
indictment.

The evidence and arguments in this case have
been completed, and it is my duty now to instruct you
as to the law. The law applicable to this case is
stated in these instructions, and it is your duty to
carefully consider all of them. The order in which
these instructions are given is no indication of their
relative importance. You should not single out any one
or more of them to the exclusion of another or others
but should consider each one in light of and in harmony
with the others.

At times during the trial I have ruled upon
the admissibility of evidence. You must not concern
yourself with these rulings. Neither by such rulings,
these instructions nor any other remarks which I have
made do I mean to indicate any opinion as to the facts

or as to what your verdict should be.

352
Case 1:05-cv-01199-JDB-egb Document 159-5 Filed 02/07/18 Page 43 of 61

24

25

PagelD 4796

Statements, arguments and remarks of counsel
are intended to help you in understanding the evidence
and applying the law, but they are not evidence. If
any statements were made that you believe are not
Supported by the evidence, you should disregard them.

You are the exclusive judges of the facts in
this case. Also, you are the exclusive judges of the
law under the direction of the Court. You should
apply the law to the facts in deciding this case. You
should consider all of the evidence in the light of
your own observations and experience in life.

The law presumes that the Defendant is
innocent of the charges against him. This presumption
remains with the Defendant throughout every stage of
the trial, and it is not overcome unless from all the
evidence in the case you are convinced beyond a
reasonable doubt that the Defendant is guilty.

The State has the burden of proving the guilt
of the Defendant beyond a reasonable doubt, and this
burden never shifts but remains on the State throughout
the trial of the case. The Defendant is not required
to prove his innocence.

Reasonable doubt is that doubt engendered by
an investigation of all the proof in the case and an

inability after such investigation to let the mind rest

353
Case 1:05-cv-01199-JDB-egb Document 159-5 Filed 02/07/18 Page 44 of 61

24

25

PagelD 4797

easily as to the certainty of guilt. Reasonable doubt
does not mean a capricious, possible or imaginary
doubt. Absolute certainty of guilt is not demanded by
the law to convict of any criminal charge, but moral
certainty is required, and this certainty is required
as to every proposition of proof requisite to
constitute the offense.

The State must have proven beyond a
reasonable doubt all of the elements of the crime
charged and that it was committed before the finding
and returning of the indictment in this case.

If you have a reasonable doubt as to the
Defendant’s guilt of first degree murder as charged in
the indictment, then your verdict must be not guilty as
to this offense, and then you will proceed to determine
his guilt or innocence of the lesser included offense
of murder in the second degree.

If you have a reasonable doubt as to the
Defendant’s guilt of murder in the second degree, then
your verdict must be not guilty of this offense, and
then you would proceed to determine his guilt or
innocence to the lesser included offense of voluntary
manslaughter. If you have a reasonable doubt as to the
Defendant's guilt of voluntary manslaughter, then your

verdict must be not guilty as to this offense, and then

354
Case 1:05-cv-01199-JDB-egb Document 159-5 Filed 02/07/18 Page 45 of 61

24

25

PagelD 4798

you'll proceed to determine his guilt or innocence of
the lesser included offense or grade of reckless
homicide. If you have a reasonable doubt as to the
Defendant’s guilt of reckless homicide, then you must
proceed to determine his guilt or innocence of the
lesser included offense of criminally negligent
homicide. The verdict must represent the considered
judgment of each juror. In order to return a verdict,
it is necessary that each juror agree thereto. Your
verdict must be unanimous.

It is your duty as jurors to consult with one
another and to deliberate with a view to reaching an
agreement, if you can do so without violence or
individual judgment. Each of you must decide the case
for yourself, but do so only after an impartial
consideration of the evidence with your fellow jurors.
In the course of your deliberations, do not hesitate to
reexamine your own views and change your opinion if
convinced it is erroneous. But do not surrender your
honest conviction as to the weight or effect of the
evidence solely because of the opinion of your fellow
jurors, or for the mere purpose of returning a verdict.

FIRST DEGREE MURDER (PREMEDITATED KILLING)
Any person who commits the offense of first

degree murder is guilty of a crime.

355
Case 1:05-cv-01199-JDB-egb Document 159-5 Filed 02/07/18 Page 46 of 61

24

25

PagelD 4799

For you to find the Defendant guilty of this
offense, the State must have proven beyond a reasonable
doubt the existence of the following essential
elements:

(1) That the Defendant unlawfully killed the
alleged victim; and, that the Defendant acted
intentionally. A person acts intentionally with
respect to the nature of his conduct or the result of
the conduct when it is the person’s conscious objective
or desire to engage in the conduct or cause the result;
and

(3) That the killing was deliberate. A
deliberate act is one performed with a cool purpose;
and, that the killing was premeditated. A premeditated
act is one done after an exercise of reflection and
judgment. Premeditation means that the intent to kill
must have been formed prior to the act itself. It is
not necessary that the purpose to kill preexist in the
mind of the accused for any definite period of time.

Tt is sufficient that it preceded the act, however
short the interval, as long as it was the result of
reflection and judgment. The mental state of the
accused at the time he allegedly decided to kill must
be carefully considered in order to determine whether

the accused was sufficiently free from excitement and

356
Case 1:05-cv-01199-JDB-egb Document 159-5 Filed 02/07/18 Page 47 of 61
PagelD 4800

1 passion as to be capable of premeditation. If the
2 design to kill was formed with deliberation and
3 premeditation, it is immaterial that the accused may
4 have been in a state of passion or excitement when the
5 design was carried into effect. Furthermore,
6 premeditation can be found if the decision to kill is
7 first formed during the heat of passion, but the
8 accused commits the act after the passion has subsided.
9 If you find from the proof beyond a
10 reasonable doubt the Defendant is guilty of murder in
11 the first degree, you will so report and your verdict
12 in that event shall be, "We, the jury, find the
13 Defendant guilty of murder in the first degree."
14 If you so find then, it shall be your duty
15 after a separate sentencing hearing to determine
16 whether the Defendant will be sentenced to death, life
17 imprisonment or without the possibility of parole, or
18 life imprisonment, but you will not consider the
19 punishment for this offense at this time.
20 The punishment for the offense is life
21 imprisonment, life imprisonment with parole or death by
22 electrocution.
23 SECOND DEGREE MURDER
24 Any person who commits second degree murder

25 is guilty of a crime.

357
Case 1:05-cv-01199-JDB-egb Document 159-5 Filed 02/07/18 Page 48 of 61

24

25

PagelD 4801

For you to find the Defendant guilty of this
offense, the State must have proven beyond a reasonable
doubt the existence of the following essential
elements:

(1) That the Defendant unlawfully killed the
alleged victim; and

(2) That the Defendant acted knowingly.

Knowingly means that a person acts knowingly
with respect to the conduct or circumstances
surrounding the conduct when the person is aware of the
nature of the conduct or that the circumstances exist.
A person acts knowingly with respect to a result of the
person’s conduct when the person is aware that the
conduct is reasonably certain to cause the result.

The requirement of knowingly is also
established if it is shown that the Defendant acted
intentionally.

VOLUNTARY MANSLAUGHTER

Any person who commits voluntary manslaughter
is guilty of a crime.

For you to find the Defendant guilty of this
offense, the State must have proven beyond a reasonable
doubt the existence of the following elements:

(1) That the Defendant unlawfully killed the

alleged victim; and

358
Case 1:05-cv-01199-JDB-egb Document 159-5 Filed 02/07/18 Page 49 of 61

24

25

PagelD 4802.

(2) That the Defendant acted intentionally
or knowingly; and

(3) That the killing resulted from a state
of passion produced by adequate provocation sufficient
to lead a reasonable person to act in an irrational
manner.

The distinction between voluntary
manslaughter and second degree murder is that voluntary
manslaughter requires that the killing result froma
state of passion produced by adequate provocation
sufficient to lead a reasonable person to act in an
irrational manner.

Intentionally means that a person acts
intentionally with respect to the nature of the conduct
or to a result of the conduct when it is a person’s
conscious objective or desire to engage in the conduct
or cause the result.

RECKLESS HOMICIDE

Any person who commits the offense of
reckless homicide is guilty of a crime.

For you to find the Defendant guilty of this
offense, the State must have proven beyond a reasonable
doubt the existence of the following essential
elements:

(1) That the Defendant killed the alleged

359
Case 1:05-cv-01199-JDB-egb Document 159-5 Filed 02/07/18 Page 50 of 61

24

25

PagelD 4803

victim; and

(2) That the Defendant acted recklessly.

Recklessly means that a person acts
recklessly with respect to circumstances surrounding
the conduct or the result of the conduct when the
person is aware of but consciously disregards a
substantial and unjustifiable risk that the
circumstances exist or the result will occur. The risk
must be of such a nature and degree that its disregard
constitutes a gross deviation from the standard of care
that an ordinary person would exercise under all the
circumstances as viewed from the accused person’s
standpoint.

The requirement of recklessly is also
established if it is shown that the Defendant acted
intentionally or knowingly.

CRIMINALLY NEGLIGENT HOMICIDE

Any person who commits criminally negligent
homicide is guilty of a crime.

For you to find the Defendant guilty of this
offense, the State must have proven beyond a reasonable
doubt the existence of the following essential
elements:

(1) That the Defendant’s conduct resulted in

the death of the alleged victim; and

360
Case 1:05-cv-01199-JDB-egb Document 159-5 Filed 02/07/18 Page 51 of 61

PagelD 4804
1 (2) That the Defendant acted with criminal
2 negligence.
3 Criminal negligence means that a person acts

4 with criminal negligence with respect to the
5 circumstances surrounding that person’s conduct or the
6 result of that conduct when the person ought to be
7 aware of a substantial and unjustifiable risk that the
8 circumstances exist or the result will occur. The risk
9 must be of such a nature and degree that the failure to
10 perceive it constitutes a gross deviation from the
11 standard of care that an ordinary person would exercise
12 under all the circumstances as viewed from the accused
13 person’s standpoint.
14 The requirement of criminal negligence is
15 also established if it is shown that the Defendant
16 acted intentionally, knowingly or recklessly.
17 The Defendant has not taken the stand to
18 testify as a witness, but you shall place no
19 significance on this fact. The Defendant is presumed
20 innocent, and the burden is on the State to prove his
21 guilt beyond a reasonable doubt. He is not required to
22 take the stand in his own behalf, and his election to
23 do so cannot be considered for any purpose against him,
24 nor can any inference be drawn from such fact.

25

361
Case 1:05-cv-01199-JDB-egb Document 159-5 Filed 02/07/18 Page 52 of 61

24

25

PagelD 4805

FLIGHT

The flight of a person accused of a crime is
a circumstance which when considered with all the facts
may justify an inference of guilt. Flight is a
voluntary withdrawal of oneself for the purpose of
evading arrest or prosecution for the crime charged.
Whether the evidence presented proves beyond a
reasonable doubt the Defendant fled is a question for
your determination.

The law makes no precise distinction as to
the manner or method of flight; it may be open or it
may be a hurried or concealed departure, or it may be
concealment within the jurisdiction. However, it takes
both the leaving of the scene of the difficulty and
subsequently hiding out, evasion or concealment in the
community or leaving the community for parts unknown to
constitute flight.

If flight is proved, the fact of flight alone
does not allow you to find that the Defendant is guilty
of the crime alleged. However, since flight by the
Defendant may be caused by a consciousness of guilt,
you may consider the fact of flight, if flight is so
proven, together with all of the other evidence when
you decide the guilt or innocence of the Defendant. on

the other hand, an entirely innocent person may take

362
Case 1:05-cv-01199-JDB-egb Document 159-5 Filed 02/07/18 Page 53 of 61

24

25

PagelD 4806

flight, and such flight may be explained by proof
offered or by the facts and circumstances of the case.

Whether there was a flight by the Defendant,
the reasons for it and the weight to be given it, are
questions for you to determine.

CREDIBILITY OF WITNESSES

You will take all of the evidence adduced in
the case by the State and the Defendant and give it a
full, fair and impartial consideration. If there are
any conflicts in the statements of the different
witnesses, it is your duty to reconcile them, if you
can, for the law presumes that every witness has sworn
to the truth, but if you cannot, the law makes you the
sole and exclusive judges of the credibility of the
witnesses and the weight to be given their testimony.
In forming your opinion as to the credibility of a
witnéss, you may look to the proof, if any, of his
general character, the manner and demeanor of the
witness, the consistency or inconsistency of his
statements, their probability or improbability, his
ability and willingness to speak the truth, his
intelligence and means of knowledge, his motive to
speak the truth or swear to a falsehood, his interest
or lack of interest in the outcome of the trial.

There are several modes of impeaching a

363
Case 1:05-cv-01199-JDB-egb Document 159-5 Filed 02/07/18 Page 54 of 61

PagelD 4807

witness. One mode is to prove that a witness has, at
different times, made conflicting statements as to the
material facts of the case as to which he testifies.
Still another mode is rigid and close cross-examination
to involve the witness in contradictions and
discrepancies as to material facts stated by him.
Immaterial discrepancies or differences in the
statements of witnesses do not affect their credibility
unless there is something to show that they originated
in a willful falsehood, and, you, members of the jury,
are to determine how far the testimony of any witness
has been impaired by the invalidating process.

The guilt of the Defendant as well as any
fact required to be proved may be established by direct
evidence, by circumstantial evidence or by both
combined.

Direct evidence is defined as evidence which
proves the existence of the fact in issue without
inference or presumption. Direct evidence may consist
of testimony of a person who has perceived by the means
of his senses the existence of a fact, sought to be
proved or disproved.

Circumstantial evidence consists of proof of
collateral facts and circumstances which do not

directly prove the fact in issue but from which that

364
Case 1:05-cv-01199-JDB-egb Document 159-5 Filed 02/07/18 Page 55 of 61

24

25

PagelD 4808

fact may logically inferred.

When the evidence is made up entirely of
circumstantial evidence, then before you would be
justified in finding the Defendant guilty, you must
find that all the essential facts are consistent with
the hypothesis of guilt, as that is to be compared with
all the facts proved; the facts must exclude every
other reasonable theory or hypothesis except that of
guilt, and the facts must establish such a certainty of
guilt of the Defendant as to convince the mind beyond a
reasonable doubt that the Defendant is the one who
committed the offense. It is not necessary that each
particular fact should be proved beyond a reasonable
doubt if enough facts are proved to satisfy the jury
beyond a reasonable doubt of all the facts necessary to
constitute the crime charged. Before the verdict of
guilty is justified, the circumstances, taken together,
must be of a conclusive nature and tendency leading on
the whole to a satisfactory conclusion and producing,
in effect, a moral certainty the Defendant and no one
else committed the offense.

The Court has charged the jury concerning
certain inferences that the jury may or may not make in
regard to certain evidence in this case. However, the

jury is not required to make this inference. It is the

365
Case 1:05-cv-01199-JDB-egb Document 159-5 Filed 02/07/18 Page 56 of 61

PagelD 4809

exclusive province of the jury to determine whether the
facts and circumstances shown by all the evidence in
the case warrant the inference which the law permits
the jury to do. The inference may be rebutted by
direct or circumstantial evidence or both, whether
offered by the Defendant or such exists in the evidence
of the State, and the burden of proof remains, as
always, upon the State to prove beyond a reasonable
doubt each and every element that constitutes the
offense before the Defendant can be convicted.
Although not required by law to do so, when the
Defendant offers proof of an explanation to rebut the
inference raised, you should consider such proof of
such explanation to rebut the inference. You should
consider such proof along with all the evidence to
determine not only the correctness of the inference but
the reasonableness of the Defendant’s explanation. You
are not bound to accept either and, as aforesaid, the
burden of proving guilt of this offense charged beyond
a reasonable doubt is upon the State.
DEFENSE: INTOXICATION

Included in the Defendant's plea of not
guilty is his plea of intoxication as a defense.

You have heard evidence concerning the

alleged intoxication of the Defendant the time of the

366
Case 1:05-cv-01199-JDB-egb Document 159-5 Filed 02/07/18 Page 57 of 61

PagelD 4810

alleged offense.

Intoxication itself is generally not a
defense to prosecution for an offense. If a person
voluntarily becomes intoxicated and while in that
condition commits an act which would be a crime if he
or she were sober, he or she is fully responsible by
his or her conduct. It is the duty of persons to
remain from placing themselves in a condition which
poses a danger to others.

Intoxication means disturbance of mental or
physical capacity resulting from the introduction of
any substance in the body.

Voluntary intoxication means intoxication
caused by a substance that the person knowingly
introduced into the person’s body, the tendency of
which to cause intoxication was known or ought to have
been known.

Intoxication is irrelevant to the issue of
the essential element of the Defendant’s culpable
mental state.

In this case the State must prove beyond a
reasonable doubt the required culpable, c-u-l-p-a-b-1l-
e, mental state of the Defendant as defined in each
offense listed in the charge.

If you find that the Defendant was

367
Case 1:05-cv-01199-JDB-egb Document 159-5 Filed 02/07/18 Page 58 of 61

PagelD 4811

intoxicated to the extent that he could not have
possessed the required culpable mind, then he cannot be
guilty of the offense charged.

If you are not satisfied beyond a reasonable
doubt that the Defendant possessed the culpable mental
state, then you must find him not guilty.

If recklessness establishes an element of the
offense and the Defendant is unaware of a risk because
of voluntary intoxication, the Defendant’s unawareness
is immaterial and is no defense to that element in the
prosecution of said offense.

EXPERT WITNESS

During the trial you heard the expert
testimony of Dr. 0. C. Smith who was described to us as
an expert in the field of forensic pathology and Dr.
Lynn Donna Zager who was described to us an expert in
the field of clinical psychology.

The rules of evidence provide that if
scientific, technical or other specialized knowledge
might assist the jury in understanding the evidence or
in determining a fact in issue, a witness qualified as
an expert by reason of special knowledge, skill or
experience may testify and state his or her opinion
concerning such matters and giving such reasons for his

or her testimony.

368
Case 1:05-cv-01199-JDB-egb Document 159-5 Filed 02/07/18 Page 59 of 61

PagelD 4812

Merely because an expert has expressed an
opinion does not mean, however, that you’re bound by
it, bound to accept this opinion. The same as with any
other witness, it is up to you to decide whether you
believe this testimony and choose to rely upon it.

Part of that decision will depend on your judgment
about whether the witness’ background or training and
experience is sufficient for the witness to give their
expert opinion that you heard. You must decide whether
the witness’ opinions were based on sound reason,
judgment and information.

You are to give the testimony of an expert
witness such weight and value as you think it deserves
along with all the other evidence in the case.

Members of the jury, the Court charges you
that if any of you have been taking notes in this case,
that these notes are for your individual use only, and
you should not use these notes directly or indirectly,
explicitly or implicitly, to persuade other jurors as
to the accuracy of said notes. They should not be
shown to the others or compared or referred to in any
way as an authority but should be used privately only
by the maker of said notes as an aid to his or her

individual memory.

You can have no prejudice or sympathy or

369
Case 1:05-cv-01199-JDB-egb Document 159-5 Filed 02/07/18 Page 60 of 61

24

25

PagelD 4813

allow anything but the law and the evidence to have an
influence upon your verdict. You must render your
verdict with absolute fairness and impartiality as you
think justice and truth dictate. When you retire to
the jury room, you will first select one of your
members as foreperson who will preside over your
deliberations.

When you have reached a verdict, you will
return with it to this courtroom and your foreperson
will announce it.

The jury will not attempt to fix any
punishment or sentence at this time. However, for your
information only, you are informed that the ranges of
punishment as the crimes involved herein are as
follows:

First degree murder, death, life in prison
without the possibility of parole, or life in prison
with the possibility of parole.

Murder in the second degree, not less than 15
nor more than 60 years imprisonment.

Voluntary manslaughter, not less than three
nor more than 15 year years imprisonment.

Reckless homicide, not less than two nor more

than four years imprisonment.

Criminally negligent homicide, not less than

370
Case 1:05-cv-01199-JDB-egb Document 159-5 Filed 02/07/18 Page 61 of 61

24

25

PagelD 4814

one nor more than six years imprisonment.

If you find that the State has proven the
Defendant guilty a reasonable doubt, you will find the
Defendant guilty. In that event your foreperson will
report that you find the Defendant guilty and will name
the offense agreed upon.

On the other hand, if you find that the State
has not proven beyond a reasonable doubt the
Defendant’s guilt or if you have a reasonable doubt as
to guilt, then you will find him not guilty. In that
event your foreperson will report that you find the
Defendant not guilty.

You will now retire and begin your
deliberations.

THE COURT: Any exceptions to the charge?

MR. WOODALL: No, Your Honor.

MR. FORD: No, sir.

(The jury retired to begin

deliberations at 5:05 p.m.;

the alternate jurors were excused;

the jury deliberated until 6:00

p.m. whereupon they returned into

open court, were admonished, and

court was recessed for the

day.)

371
